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  8
  9                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
       JUAN VARELA
12                          Plaintiff,
                                                          5:14−CV−01807−JGB−KK
13                             v.
14                                                         NOTICE OF PARTIAL
       STERLING INFOSYSTEMS,
       INC., et al.                                          SETTLEMENT
15
                            Defendants.
16
17
18
19          Pursuant to Local Rule 40-2 please take notice that Plaintiff Juan Varela

20    (“Plaintiff”) and Defendant Hollins Management Group, Inc. (“Hollins”) have

21    reached an agreement on all material terms required to settle all of Plaintiff’s claims
22    against Hollins pending in this action.
23     Dated: April 9, 2015                         Respectfully submitted,
24
25                                                  By:   /s/ Stephanie R. Tatar
26                                                        STEPHANIE R. TATAR
                                                          Attorney for Plaintiff
27                                                        JUAN VARELA
28


                                                1         NOTICE OF PARTIAL SETTLEMENT
